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10
   Attorneys for Defendant
11 Potter Anderson & Corroon LLP

12                              UNITED STATES BANKRUPTCY COURT

13                               CENTRAL DISTRICT OF CALIFORNIA

14                                     LOS ANGELES DIVISION

15 In re                                           Case No. 2:21-bk-13523-WB

16 URBAN COMMONS, LLC,                             Chapter 7

17                 Debtor.

18
     CAROLYN A. DYE, Chapter 7 Trustee,            Adv. No. 2:23-ap-01292-WB
19
                   Plaintiff,                      ORDER PARTIALLY GRANTING
20                                                 POTTER ANDERSON & CORROON LLP’S
                                                   MOTION TO DISMISS FIRSTAMENDED
21                                                 COMPLAINT FOR (1) AVOIDANCE AND
     POTTER ANDERSON & CORROON LLP,                RECOVERY OF FRAUDULENT
22                                                 TRANSFERS, (2) AVOIDANCE OF POST-
                   Defendant.                      PETITION TRANSFER, (3) PRESERVATION
23                                                 OF FRAUDULENT, PREFERENTIAL AND
                                                   POST PETITION TRANSFER TRANSFERS,
24                                                 AND (4) DISALLOWANCE OF CLAIMS
                                                   PURSUANT TO FEDERAL RULE OF CIVIL
25                                                 PROCEDURE 12(b)(6) AND FEDERAL
                                                   RULE OF BANKRUPTCY PROCEDURE 7012
26
                                                   DATE: JANUARY 23, 2024
27                                                 TIME: 2:00 PM (PT)
                                                   CTRM: 1375
28
                                                  1                                              ORDER

     11287295v.1
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 1
            Upon consideration of Potter Anderson & Corroon LLP’s Motion to Dismiss First Amended
 2
     Complaint for (1) Avoidance and Recovery of Fraudulent Transfers, (2) Avoidance of Post-
 3
     Petition Transfer, (3) Preservation of Fraudulent, Preferential and Post Petition Transfer
 4
     Transfers, and (4) Disallowance of Claims Pursuant to Federal Rule Of Civil Procedure 12(B)(6)
 5
     and Federal Rule of Bankruptcy Procedure 7012 (the “Motion”) filed by the Defendant pursuant
 6
     to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable herein by Rule 7012(b) of
 7
     the Federal Rules of Bankruptcy Procedure; and upon consideration of any responses and replies
 8
     thereto, and the argument of counsel, if any:
 9
            IT IS ORDERED THAT:
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            1.      The Motion is granted in part and denied in part as set forth herein.
11
            2.      The Motion is granted with respect to Plaintiff’s Second Claim for Relief and Third
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                    Claim for Relief asserted against the Defendant in the Amended Complaint, and
13
                    those claims are DISMISSED WITH PREJUDICE.
14
            3.      The Motion is denied with respect to Plaintiff’s First, Fourth and Fifth Claims for
15
                    Relief. The Defendant shall file an answer to the Plaintiff’s First, Fourth, and Fifth
16
                    Claim for Relief by February 13, 2024.
17
            4.      A status conference will be held March 5, 2024 at 2:00 pm. (PT).
18
            5.      The Court shall retain jurisdiction to hear and determine all matters arising from or
19
     related to the implementation, interpretation, and/or enforcement of this Order.
20
21
                                                      ###
22

23
24    Date: January 26, 2024

25

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                                                       2                                            ORDER
